                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OFPENNSYLVANIA

IN RE: John P. Kerr aka John Kerr               :
                                                :
                                                :
Deutsche Bank National Trust Company
                  Movant                        :
                                                  Chapter 13
v.                                              :
                                                  No.     23-13335-MDC
John P. Kerr aka John Kerr                      :
                  Debtor                        :
Kenneth E. West                                 :
                  Additional Respondent         :
                                                :


    DEBTORS ANSWER TO THE MOTION OF DEUTSCHE BANK NATIONAL TRUST
              COMPANY FOR RELIEF FROM AUTOMATIC STAY


    John P. Kerr aka John Kerr, Debtor, by and through counsel, Anthony A. Frigo, Esquire,

respectfully request the entry of an Order denying Motion of Deutsche Bank National Trust

Company for Relief from Automatic Stay and in support thereof aver as follows:

    1. Admitted.

    2. Admitted.

    3. The Debtor is/are without information sufficient to either admit or deny the averments of
       this paragraph and they are therefore denied. Strict proof is demanded.

    4. Admitted.

    5. Denied. The averments of this paragraph are conclusions of law to which no response is
       required. They are, therefore, denied. Strict proof is demanded.

    6. Denied. The averments of this paragraph are conclusions of law to which no response is
       required. They are, therefore, denied. Strict proof is demanded.

    7. Denied. Debtor is current.

    8. Denied. Debtor is current.
    9. Admitted in part. Denied in part. Communications may be sent directly to Debtor but
       counsel requests those communications also be sent to him.

    10. Denied. The averments of this paragraph are conclusions of law to which no response is
        required. They are, therefore, denied. Strict proof is demanded.

   WHEREFORE, Debtors respectfully request the entry of an ORDER in the form attached

denying Movant’s request for an order granting relief from the Automatic Stay.


Dated:   February 29, 2024                               /S/ Anthony A. Frigo
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